                  Case 2:22-cv-02048-JAR-ADM Document 103-3 Filed 02/01/23 Page 1 of 8



Tracy M. Hayes

From:                                         Sean M. Sturdivan
Sent:                                         Wednesday, January 18, 2023 2:29 PM
To:                                           Michael Williams; William Odle
Cc:                                           Tracy M. Hayes; Kaitlin Marsh-Blake
Subject:                                      RE: Smith v. HCC - Objections to Plaintiffs' Expert Disclosure SWR 2849+22


Bill and Michael:

Thanks for the responses. Let me know once you’ve conferred and we can set a time to talk.


Sean M. Sturdivan | Partner
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s.sturdivan@swrllp.com
                                                                                                                          EXHIBIT




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some computer unconnected to either of us which the email passed through. I am communicating to you via email because you have consented to receive
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From: Michael Williams <mwilliams@williamsdirks.com>
Sent: Wednesday, January 18, 2023 2:22 PM
To: William Odle <wodle@odlelawfirm.com>
Cc: Sean M. Sturdivan <s.sturdivan@swrllp.com>; Tracy M. Hayes <t.hayes@swrllp.com>; Kaitlin Marsh-Blake <k.marsh-
blake@swrllp.com>; Emily Branch <emily@odlelawfirm.com>
Subject: Re: Smith v. HCC - Objections to Plaintiffs' Expert Disclosure SWR 2849+22

Sean:

The Expert Report was emailed to your office at 11:59 EST per the below email. I believe service is when sent, not
received. The certificate of service is accurate from what I can see.

                                                                                 1
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I am swamped for trial until tonight, but the report cannot be more specific since depositions have yet to be
taken. Once the facts are clear, the report can be supplemented based on the record. After I confer with Bill on the
other issues raised, I am happy to discuss this.

From: Emily <Emily@OdleLawFirm.com>
Subject: Plaintiffs' Expert
Date: January 12, 2023 at 12:59:45 AM EST
To: "Sean M. Sturdivan" <s.sturdivan@swrllp.com>, "Tracy M. Hayes" <t.hayes@swrllp.com>, Kaitlin Marsh-Blake
<k.marsh-blake@swrllp.com>
Cc: Bill Odle <wodle@odlelawfirm.com>, Michael Williams <mwilliams@williamsdirks.com>, Carlos Flores
<cflores@williamsdirks.com>, "Kathy M. Bowen" <k.bowen@swrllp.com>

BJ Smith et al v. HCC et al

Counsel,

Plaintiffs’ expert is Dan Beebe. Attached please find his report.

Michael A. Williams
Williams Dirks Dameron
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Main: (816) 945-7110
Direct: (816) 945-7175

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On Wed, Jan 18, 2023 at 1:47 PM William Odle <wodle@odlelawfirm.com> wrote:

 Sean,



 As to your first objection regarding Plaintiffs’ Expert’s Report as untimely, I think it is deeply misplaced for
 several reasons.



 First, your email fails to even allege that Defendants were prejudiced. I don’t see how you conceivably
 could. Please explain how Defendants could have possibly been harmed under the circumstances. See Pollard
 v. United States, No. 218CV02317JPMTMP, 2021 WL 2903243, at *6 (W.D. Tenn. July 9, 2021) (party failed
 to show prejudice from late filing); Hague v. Comm'r of Soc. Sec., No. 2:18-CV-419, 2019 WL 4071718, at *2
 (S.D. Ohio Aug. 28, 2019) (“the Commissioner represents that she filed her objections fewer than two hours
 late . . . . The Court does doubt that such a small delay in any way prejudiced Ms. Hague.”); Guevara v. UMH
 Properties, Inc., No. 2:11-CV-2339-SHL-TMP, 2014 WL 5488918, at *1 (W.D. Tenn. Oct. 29, 2014) (“[Party]
                                                               2
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cannot demonstrate prejudice from the late-filed motion”). Absent a showing of prejudice, your objection is
not well-taken. Id.



Second, I have found over the years that quibbling over these sorts of minuscule issues is a needless waste of
resources. I’m also confident that Magistrate Mitchell views such disputes dimly and will either overrule your
objection for the reasons stated above or grant an alternative request for leave to file out of time—but not
before we unnecessarily take up the Court’s time in the process.



Finally, the deadline wasn’t court-ordered; it was made by agreement of the parties. Surely if I called your cell
phone at 11:58 p.m. and asked you to consent to a twelve-hour extension, I like to believe you’d agree.
Especially considering the number of courtesies we’ve repeatedly allowed Defendants. For these reasons, I
ask that Defendants withdraw this objection.



Shifting gears, per my earlier email, I’ll confer with Michael regarding objections Nos. 2-4 and we can
schedule a call.



Regards,



Bill




William C. Odle
The Odle Law Firm, LLC

6 1/2 First Street, Suite 2

Parkville, Mo 64152

Tel: 816-631-5220

Cell: 816-522-5388

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Sent: Wednesday, January 18, 2023 12:10 PM
To: William Odle <wodle@odlelawfirm.com>; Michael Williams <mwilliams@williamsdirks.com>
Cc: Tracy M. Hayes <t.hayes@swrllp.com>; Kaitlin Marsh-Blake <k.marsh-blake@swrllp.com>
Subject: RE: Smith v. HCC - Objections to Plaintiffs' Expert Disclosure SWR 2849+22



Sounds good.




Sean M. Sturdivan | Partner

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or even some computer unconnected to either of us which the email passed through. I am communicating to you via email because you have consented to
receive communications via this medium. If you change your mind and want future communications to be sent in a different fashion, please let me know at once.




From: William Odle <wodle@odlelawfirm.com>
Sent: Wednesday, January 18, 2023 12:09 PM
To: Sean M. Sturdivan <s.sturdivan@swrllp.com>; Michael Williams <mwilliams@williamsdirks.com>
Cc: Tracy M. Hayes <t.hayes@swrllp.com>; Kaitlin Marsh-Blake <k.marsh-blake@swrllp.com>; Emily Branch
<emily@odlelawfirm.com>
Subject: RE: Smith v. HCC - Objections to Plaintiffs' Expert Disclosure SWR 2849+22



Sean,



I’m about to enter a meeting. I’ll get back to you after Mike and I have a chance to confer.



Bill




William C. Odle
The Odle Law Firm, LLC


                                                                                5
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From: Sean M. Sturdivan <s.sturdivan@swrllp.com>
Sent: Wednesday, January 18, 2023 12:03 PM
To: Michael Williams <mwilliams@williamsdirks.com>; William Odle <wodle@odlelawfirm.com>
Cc: Tracy M. Hayes <t.hayes@swrllp.com>; Kaitlin Marsh-Blake <k.marsh-blake@swrllp.com>
Subject: Smith v. HCC - Objections to Plaintiffs' Expert Disclosure SWR 2849+22



Counsel:



We are in receipt of Plaintiffs’ Expert Designation. Please consider this Defendants’ objections to the expert disclosure
pursuant to the Court’s Scheduling Order requiring that any objections be served within 14 days after service of the
expert disclosure. Please let us know a time in the next week that you are available to meet and confer regarding these
issues.



Objections



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    1. The disclosure was untimely. Pursuant to the Amended Scheduling Order entered by the Court, Plaintiffs’ expert
        disclosures were due January 4, 2023. Per agreement of the parties, that deadline was extended to January 11,
        2023. There were no further extensions. Plaintiffs’ disclosure was, in fact and contrary to the Certificate of
        Service filed with the Court, on January 12, 2023. In this regard, we would ask that you correct the Certificate
        of Service and it’s our position that your expert disclosure is untimely.



    2. Plaintiffs’ expert report does not sufficiently or clearly include a “complete statement of all opinions the witness
        will express and the basis and reasons for them” as required by FRCP 26(a)(2)(B). As you well know, the
        purpose of the federal expert disclosure rules is to clearly and specifically outline the expert’s opinions so that a
        deposition is not necessary. Plaintiffs’ expert report does not do this. It’s very difficult to discern the
        opinions. It’s equally difficult to discern what facts and data Mr. Beebe is relying on. As it stands now,
        defendants have no choice but to take the expert’s deposition in order to figure out the exact nature of his
        opinions and the factual basis for same.



    3. Plaintiffs’ expert report also does not specifically state the facts or data considered or provide any exhibits that
        will be used to support the opinions. In fact, the expert’s unsigned report improperly states as follows:



            a. “Among the documents I have reviewed…”
            b. “including but not limited to the following: pleadings, documents produced in discovery, audio tape
                transcripts…” – the report then goes on to say that he understands “counsel has provided or will
                provide all documents relied on for the preparation of this report.” There has been no such
                production. We have not received anything from Plaintiffs regarding the documents relied upon.
            c. “…the evidence I have reviewed…” – without any specific description of the evidence to which he is
                referring.
            d. “…based on the information reviewed to date..” – again, no description.
            e. “The record I reviewed and searches I made…” without any specific description of what record he
                reviewed.
            f. “I reviewed documentation indicating that an investigation….” – what documentation?
            g. “Based on what I reviewed to date…” – no specific indication of what he reviewed.
            h. “Based on studies and publicity…” – what studies and publicity? No specifics provided.



    4. Plaintiff’s expert disclosure does not include a list of publications. Perhaps he has none. If so, that’s fine but we
        need clarification on that issue.



I look forward to hearing from you on these issues and to getting a day and time for a discussion about the same.



Sean M. Sturdivan | Partner

Sanders Warren & Russell LLP

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